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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-296
                                                 §
                                                 §
GABRIEL GUZMAN-VILLA, et al.                     §


                                          ORDER

       Counsel for defendant Guzman-Villa filed a motion to withdraw as counsel of record.

(Docket Entry 48). The motion is granted. The magistrate judge will appoint counsel to

represent defendant Gabriel Guzman-Villa.

       Defendant Cuadros filed an unopposed motion for continuance. (Docket Entry No.

49). The co-defendants are unopposed to the continuance. The court finds that the interests

of justice are served by granting this continuance and that those interests outweigh the

interests of the public and the defendants in a speedy trial. The motion for continuance is

GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                   September 18, 2009
       Responses are to be filed by:                 September 30, 2009
       Pretrial conference is reset to:              October 5, 2009, at 8:45 a.m.
       Jury trial and selection are reset to:        October 13, 2009, at 9:00 a.m.


              SIGNED on July 23, 2009, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
